Case 07-11047-CSS Doc 9692-7 Filed 01/20/11 Pagelof7

IN THE UNITED STATES BANKRUPTCY COURT
FOR TE DISTRICT OF DELAWARE

IN RE: Chapter 11

AMERICAN HOME MORTGAGE Case No. 07-11047 (CSS)
HOLDINGS, INC. etal

A Delaware corporation

Debtors

MOTION FOR ENTRY OF ADMINISTRATIVE CLAIM WITH BRIEF IN SUPPORT

Comes Now Hussain Kareem, Mortgagor/Creditor/Claimant moves this honorable court to
address his administrative claim against the debtors the instant action for reasons enumerated

below:

1.

Claimant addresses this court to meet the bar date of January 5, 2011 to address any
supplemental or administrative claims by creditors being timely entered under the plan and

before relief is granted to all parties of interests.

2.

Claimant submits his proof of claim authorizing this court to review and determine entitlement
for Breach of Contract, receiving notice for Rescission/Cancellation of the Note and Mortgage,

and failure to give notice of insolvency under RESPA transfer of servicing rights.

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Case 07-11047-CSS Doc 9692-7 Filed 01/20/11 Page2of7

3.
Claimant has suffered actual monetary and tort damages related to the insolvency and the lack of

notification that proceedings had been and is about to discharge all claims. Claimant cites the

facts surrounding his absence from the proceedings as follows:

4.
Undisputed Facts For Admitting Administrative Claim

Claimant entered into a contractual obligation to refinance his home under loan number

. 001350490 on July 7, 2006 through the subsidiary American Home Mortgage Holdings

(hereinafter referred to as “AHMH” ) American Brokers Conduit ( hereinafter known as
‘ABC’). The property is located at 2197 Carlysle Creek Drive, Lawrenceville GA 30044. (See
Exhibits Promissory Note ‘A’ and U.S. Department of HUD Settlement Statement 2400 B &

2400B2 ).

5.
The loan was serviced through AHMH’s subsidiary American Home Mortgage Servicing, Inc., a
Maryland Corporation, and a participant in the above plan proceeding. Claimant never received
official notification from neither AHMH, ABC, nor AHMSVI that insolvency proceeding had
been sought under Chapter 11 in the Bankruptcy Court for the District of Delaware (emphasis
added). As such, Claimant had to discover that proceeding had been ongoing from second-hand

sources. Fortunately, Claimant is able to present his claim before the final bar date.

6.
Claims for Discharge & Damages

On or about October 21, 2008, Claimant sent his Rescission Demand of the Note and Security |
interests to Michael Straus, CEO of American Home Mortgage, Inc. hereinafter referred to as
AHM, another subsidiary of AHMH and is a participant under the above plan (see Exhibit C).
Case 07-11047-CSS Doc 9692-7 Filed 01/20/11 Page 3of7

Claimant action preserved all of his rights and entitlements under TILA, 16 U.S.C. 1601 et Seq.
The Rescission Demand Notification was delivered by U.S. Certified Mail No.
70081300000127430907.

Under 15 USC 1635 (b), AHM had twenty calendar days to unwound the asset and restore
borrower/ claimant back to status quo ante. See Trimmel, 555 F. Supp. at 268 n. 3 (goal of 15
U.S.C. § 1635 is restoration of ‘‘status quo ante’’). When a mortgagee properly rescinds a
mortgage under TILA, the rescission defeases the mortgagee of its interest in the mortgaged

property.

AHM failed to acknowledge or unwind, as required under the law, the Note and its Security
interests. By AHM’s inactions, Claimant has established prima facie evidence for actual damage
and right of discharge. AHM was still functioning as a business entity albeit under Chapter 11
when in 2008, the CEO Michael Straus received the Mortgagor/Claimant’s Rescission Demand
Notice (see Exhibit C). AHM had every obligation to disclose to this honorable court, to its
trustees and administrators that rescission of the Note had been made by the Claimant and as an
operation of law, should have been a executed for relief. The claimant and debtors were
intertwined in a financial transaction which occurred prior to insolvency. Notably, the TILA
remedy was made during the administrative phase of the Chapter 11 proceeding. Thus, Claimant

asserts that he is entitled to have the Note discharged through this administrative proceeding.

7.
Legal Discussion: Supporting Citation of Authorities

TILA rescission voids the original conveyance of legal title to the mortgagee. The TILA
rescission process restores the parties to their relationship prior to becoming mortgagor and
mortgagee. Because TILA rescission restores legal title to the consumer, it is effectively an
alternate method of redemption in the instant matter context. The classic method of redemption
is to extinguish the debt set by the judgment by paying it in full. Under TILA the owner of the

equity of redemption extinguishes the debt by rescinding the underlying transaction. When the
Case 07-11047-CSS Doc 9692-7 Filed 01/20/11 Page4of7

transaction, including the promissory note memorializing the debt, is rescinded, it follows that
the mortgage is no longer enforceable either. If the debt is void it follows that the mortgage is

void. Therefore, if the mortgage is void, it follows that legal title is restored to the mortgagor.
Under 12 C.F.R. § 226.23(d), the process is as follows:

226.23(d)(1): ‘‘When a consumer rescinds a transaction, the

security interest... becomes void’’226.23(d)(2): ‘‘Within 20 calendar days . . . the creditor
shall return any money .. . that has been given to anyone in connection with the transaction and
shall take any action necessary to reflect the termination of the security interest. ’’ 226.23 (d)(3):
‘‘When the creditor has complied with [paragraph (d)(2)], the consumer shall tender the money
or property to the creditor’’ As the Appellate Court has held, under 15 U.S.C. § 1635(b), “all
that the [borrower] need do is notify the creditor of her intent to rescind. The agreement is then
automatically rescinded (emphasis added).

Courts have expressly recognized that statutory rescission under

TILA works differently than common law rescission. In Velazquez v. America’s Servicing
Company Credit, Inc., d/b/a Overland Mortgage, the Northern District of Illinois recognized that
“TILA’s scheme is contrary to the rule under common law rescission, where the rescinding
party must tender first.’’ Velazquez v. America’s Servicing Company Credit, Inc., d/b/a
Overland Mortgage, 254 F. Supp. 2d 1043, 1045 (N.D. Ill. 2003). Under the TILA scheme for
rescission, the mortgagor does not become obligated to return the proceeds of the loan until the
mortgagee acts first as described in 12 C.F.R. § 226.23(d)(1) and (2). 12 C.F.R. § 226.23(d)(3)
(‘‘When the creditor has complied with [paragraph (d)(2)], the consumer shall tender the money
or property to the creditor’). The 1st Circuit has similarly held that under the statutory rescission
process created by TILA and Regulation Z, the lender must go first rather than the rescinding

mortgagor.

Also See, Large v. Conseco Finance Servicing Corp., 292 F.3d 49, 55-56 (1st Cir. 2002) (‘‘in
contrast to common law rescission, the borrower need not first return the loan proceeds received
Case 07-11047-CSS Doc 9692-7 Filed 01/20/11 Page5of7

under the agreement to effect a rescission.’’). ‘‘The purpose of the TILA’s reordering of common
law rescission rules is to put the consumer in a stronger bargaining position’’ because the
lender has violated the law. Id. (Emphasis supplied).

A consumer ‘‘need not prove that they were mislead or suffered any actual damages from the
purported TILA violations.’ In re Ameriquest Mortg. Co. Mortg. Lending Practices Litig., 2006
U.S. Dist. LEXIS 35316 at * 8 (N_D. Ill. 2006) (citing Brown v. Marquette Sav. & Loan Assoc.,
686 F.2d 608, 614 (7th Cir. 1982)). Also se, In re Ameriquest Mortg. Co. Mortg. Lending
Practices Litig., 2006 U.S. Dist. LEXIS at *3-4 (‘‘If a borrower rescinds a mortgage, he or he is

no longer responsible for finance or other charges, and the lender loses its security interest. "’).

8.

Further claims arose by AHM’s acquiescence to the TILA Demand Notice. Claimant submits
prima facie evidence from bank statements certified by Bank Of America , that least sixteen (16)
payments were made to American Home Mortgage related to the original Promissory Note
obligation beginning from April 2008 through September 2009 (see Exhibit 4400). Unbeknownst
to the claimant, AHMH had started its proceeding under the plan, so the failure to disclose or
respond materially damaged the Claimant. Whereas, in “good faith” his monies were sent to

servicing parties allegedly benefitting AHMH or the Trustee under this Plan.

9.

AHM had acquiesced and Borrower is entitled to preserve all rights under TILA due to default

by the principal. Under Georgia law on acquiescence under OCGA 24-4-23 expresses, as

follows:

“In the ordinary course of business, when good faith requires an answer, it is the duty of the
party receiving a letter from another to answer within a reasonable time. Otherwise he is

presumed to admit the propriety of the acts mentioned in the letter of his correspondent and to
adopt them.”

Relevant Georgia’s case law on acquiescence expresses,
Case 07-11047-CSS Doc 9692-7 Filed 01/20/11 Page 6 of 7

(b) Except as provided in subsection (c) of this Code section, an alteration fraudulently made
discharges a party whose obligation is affected by the alteration unless that party assents or is
precluded from asserting the alteration. No other alteration discharges a party, and the
instrument may be enforced according to its original terms.

See SPILLERS v. FIRST SOUTH BANK, N.A. (185 Ga. App. 580) (365 SE2d 151) (1988),

“if the co-maker shows at trial that he is discharged from liability because the bank completed
the instrument of debt in an unauthorized manner (see OCGA 11-3-407 (1) (b) and ]1-3-601 (1)
(f), then defendant, if he is shown to be an accommodation party, would be discharged also. See
Griswold v. Whetsell, 157 Ga. App. 800 (3) (278 SE2d 753) (1981). The rationale for such a
discharge of the accommodation party is that his right of recourse against the discharged co-
maker would be impaired.”

By the preponderance of evidence, Claimant shows good cause that neither AHMH nor its
subsidiaries disclosed to Claimant that the indorsement did convert the Promissory Note into a
Bill of Exchange for the benefit of ABC coupled with the failure to Rescind under TILA has

given the Claimant all rights for relief and recovery by discharging of the Note.

11.
Relief Sought

Claimant seeks by moving this Competent Court and the Administrators for the following

administrative rights under the current plan:
* Admit this claim for administrative claims against the debtors under the plan.

*Discharge the Promissory Note and Security Deed for Loan Number 001350490. This court
should protect Claimant rights and has the jurisdictional authority under TILA or any other

applicable laws to render the debt discharged.

* For Negligence Claim on part of AHMH and under TILA a return of all payments made pre

and post proceedings. AHMH failure to disclose its insolvency materially harmed the claimant
Case 07-11047-CSS Doc 9692-7 Filed 01/20/11 Page/7of7

to an amount estimated at $19,175.71 without interests. A more exact accounting shall be

determined with forthcoming support by evidence from records.

*This court should apply judicial leniency for claimant against any defects, as this court
standard should follow case laws citing “Pro Se Litigants pleadings are not to held to the same
high standards of perfection as lawyers.” See Haines v. Kerner, 92 S. Ct. 594; Jenkins v.
McKeithen, 395 U.S. 411, 421 (1969); Picking v. Penna. Rwy. Co. 151 F. 2d 240; Puckett v.

Cox, 456 F. 2d 233.

*If this court rules in whole or in part adversely to the claimant demands, then this court is
requested to offer fact finding under FRCP Rule 52 to state with clear and concise reasons for

rejection.
Claimant sayeth no more. With all due respects to this Court,

Submitted on or about January 5, 2011.

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